Case 2:10-md-02179-CJB-DPC Document 12182-9 Filed 01/17/14 Page 1 of 2

DEEPWATER HORIZON
; CLAIMS CENTER

ie | EOONOMIG & RRORERTY DAMAGE CLAIMS.

Last/Name of Business First Middle
Claimant Name THONN CASEY
Claimant ID 100051739 Claim ID 19691
Claim Type Seafood Compensation Program
Law Firm Andry Law Group/Andry Lerner, LLC
Vessel Name Hull ID

The Economic and Property Damages Settlement Agreement (“Settlement Agreement”) written by Class Counsel
and BP requires the Claims Administrator to designate an Appeals Coordinator to coordinate the Appeals Process.
This Notice is an official communication from the Appeals Coordinator and relates to the claim identified in Section
I. BP or the claimant appealed this claim, and the Appeals Coordinator submitted the claim for Appeal Panel
review. The Appeal Panel has completed its review of the Appeal and has reached a final decision on the claim.
_{The details of the Appeal Panel's decision are below:

Proposal Chosen
Compensation Amount $189,189.00 BP
Risk Transfer Premium Multiplier ' - 0,00 os BP
Prior Payment Offset $72,500.00 BP

The Compensation Amount awarded by the Appeal Panel will appear in Section 2, line 1 of your Post-Appeal
Eligibility Notice. We will increase this Compensation Amount by the applicable Risk Transfer Premium, if any, and
also decrease this Compensation Amount by any applicable offsets to determine your Award Amount. If this was
a Claimant Appeal of a Post-Reconsideration Eligibility Notice and the claimant prevailed upon appeal, the pre-Risk
Transfer Premium Compensation Amount will be increased by 5%. If we have received notice of any outstanding
lien, we will also deduct that applicable amount from your Award Amount.

The Appeal Panel’s decision will stand as the Settlement Program’s final determination on this claim.

For questions about this Notice of Appeal Panel Decision or the status of your other claim(s}, contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhece.com. If you are a law firm or
claims preparation company, you should call or email your designated DWH Contact for help or assistance. You
may also visit a Claimant Assistance Center for help. For a complete list of Claimant Assistance Centers, go to
www.deepwaterhorizoneconomicsettlement.com.

APP-19-v.1:- WWW. DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100051739
UR YN TE Page 2 of 3 Claim 1D: 19691

Case 2:10-md-02179-CJB-DPC Document 12182-9 Filed 01/17/14 Page 2 of 2

We received one or more additional Claim Forms from you that are not included or addressed in this Notice. This
chart summarizes the status of those claims as of the date of this Notice. You will receive or have already
received separate Notices for each additional claim. You may monitor the status of your other claims by using the
DWH Portal. If you do not use the DWH Portal, contact us by one of the methods listed in Section III of this
Notice to find out the current status of your other claims or use the “Check My Status” feature located on the
homepage of the official Settlement Program website at www.deepwaterhorizoneconomicsettlement.com.

Claim Type Claim ID Claim Status
1. {Seafood Compensation Program 19690 Payment Received
2. |VoO Charter Payment 20741 Payment Received
3. |Subsistence 97550 Claim Form Submitted
APP-19'v,1"> WWwW,.DEEPWATERHORIZONECONOMICSETTLEMENT.COM Claimant ID: 100051739

IOC CER TEEN AETV AE Page 3 of 3 Claim ID: 19691

